                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                             MISCELLANEOUS NO. 3:07-MC-47
                                     (Doc. No. 1)


 IN RE:                                           )
                                                  )
 STANDING ORDER GOVERNING THE                     )
 CALENDARING OF HEARINGS AND                      )
 TRIALS BEFORE THE HONORABLE                      )
 FRANK D. WHITNEY                                 )
                                                  )

       This Standing Order is intended to provide dates and settings to litigants and magistrate

judges in preparing scheduling orders in civil and criminal cases, as set forth in the Standing Order

Governing Civil Case Management Before the Honorable Frank D. Whitney, Misc. No. 3:07-MC-47

(Doc. No. 2), and the Standing Ordering Governing Criminal Case Management Before the

Honorable Frank D. Whitney, Misc. No. 3:07-MC-47 (Doc. No. 6).

       Effective immediately for civil matters and 1 July 2007 for criminal matters, IT IS HEREBY

ORDERED that the following settings will govern all civil and criminal cases before the Honorable

Frank D. Whitney:

       1.       All civil dispositive motions (e.g., summary judgment), all criminal motions (e.g.,

motions to suppress), and all criminal sentencings will be heard during the first full week of each

even month. The Court reserves the right to hold special motions and sentencings hearings as

needed to administer justice or prevent irreparable harm.

       2.       All pretrial conferences will be held during the last week of the even month during

which motions are heard.

       3.       Calendar call in criminal cases will be held on the Monday (or Tuesday, if Monday




            Case 3:07-mc-00047-FDW Document 1 Filed 05/14/07 Page 1 of 2
is a holiday) of the first full week of the odd month following the month during which motions are

heard. Jury selection and criminal trials will either commence on the Monday (or Tuesday) of

calendar call or the first full day after calendar call, as determined by the Court at calendar call.

Criminal trials will continue as needed into the mixed term discussed in paragraph 4, infra.

        4.       Calendar call in civil cases will be held on the Monday (or Tuesday, if Monday is

a holiday) of the second full week of the odd month following the month during which motions are

heard. The date and time of jury selection and beginning of civil trials will be determined at the civil

calendar call based on the schedule of the criminal trials set the week before at the criminal calendar

call, as discussed in paragraph 3, supra.

        5.       The attachment to this Standing Order sets forth the actual dates for the above settings

through January 2014, after which year the settings will continue as described above.

        6.       The Court sua sponte may occasionally amend individual settings to accommodate

Court administration, conflicts, holidays, and other matters. Litigants, however, should never

anticipate a calendar or setting change.

        7.       In complex matters, parties may move the Court for a peremptory setting outside of

the customary settings set forth in this Standing Order. The Court will consider such motions on

a case-by-case basis.


                                                    Signed: May 14, 2007




                                                    2


             Case 3:07-mc-00047-FDW Document 1 Filed 05/14/07 Page 2 of 2
